UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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EQUITABLE FINANCIAL LIFE
INSURANCE COMPANY,
                                                                             ANSWER OF
                                       Interpleader Plaintiff,               INTERPLEADER
                                                                             DEFENDANT CHRISTINA
                                                                             STEFANOPOULOS WITH
                                                                             CROSS-CLAIM


        - against -                                                          Index No. 7:23-cv-07905-PMH

ALYSHA TRIANTAFILLOU, ALYSHA
TRIANTAFILLOU AS ADMINISTRATRIX
OF THE ESTATE OF IOANNIS
TRIANTAFILLOU, TAMMY THANOS,
CHRISTINA STEFANOPOULOS,

                                         Interpleader Defendants.
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        The answering Interpleader Defendant, CHRISTINA STEFANOPOULOS (hereinafter

the “Answering Defendant”), by and through her attorneys, Reisman Rubeo, LLP, as and for her

Answer with Cross Claims to the Complaint by the Interpleader Plaintiff, sets forth as follows:

        1.       The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 1 of the Complaint.

        2.       The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 2 of the Complaint.

        3.       The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 3 of the Complaint.

        4.       The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 4 of the Complaint.
       5.      The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 5 of the Complaint.

       6.      The Answering Defendant admits the allegations set forth in paragraph 6 of the

Complaint.

       7.      The Answering Defendant denies the allegations set forth in paragraph 7 of the

Complaint and refers all questions of law to the Court.

       8.      The Answering Defendant denies the allegations set forth in paragraph 8 of the

Complaint and refers all questions of law to the Court.

       9.      The Answering Defendant denies the allegations set forth in paragraph 9 of the

Complaint and refers all questions of law to the Court.

       10.     The Answering Defendant denies the allegations set forth in paragraph 10 of the

Complaint and refers all questions of law to the Court.

       11.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 11 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit A, refers to the document for the terms,

provisions and conditions thereof.

       12.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 12 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit B, refers to the document for the terms, provisions

and conditions thereof.

       13.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 13 of the Complaint, and with respect to the
document attached to the Complaint as Exhibit A, refers to the document for the terms,

provisions and conditions thereof.

       14.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 14 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit C, refers to the document for the terms, provisions

and conditions thereof.

       15.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 15 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit D, refers to the document for the terms,

provisions and conditions thereof.

       16.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 16 of the Complaint, except admits that

Nikolaos J. Rentoulis (“Nikolaos”) was the cousin of Ioannis Triantafillou (the “Insured”), and

that Dina Rentoulis (“Dina”) was Nikolaos’s wife, and with respect to the document attached to

the Complaint as Exhibit E, refers to the document for the terms, provisions and conditions

thereof.

       17.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 17 of the Complaint, except admits that she is

the daughter of Nikolaos and Dina, and with respect to the document attached to the Complaint

as Exhibit E, refers to the document for the terms, provisions and conditions thereof.

       18.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 18 of the Complaint, and with respect to the
document attached to the Complaint as Exhibit E, refers to the document for the terms, provisions

and conditions thereof.

       19.     The Answering Defendant admits the allegations set forth in paragraph 19 of the

Complaint that Nikolaos and Dina are deceased and their dates of death are as listed in the

Complaint, denies knowledge and information sufficient to form a belief as to the remainder of

the allegations set forth in paragraph 19 of the Complaint, and with respect to the document

attached to the Complaint as Exhibit F, refers to the document for the terms, provisions and

conditions thereof.

       20.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 20 of the Complaint, and with respect to the

documents attached to the Complaint as Exhibits F and G, refers to the documents for the terms,

provisions and conditions thereof.

       21.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 21 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit H, refers to the document for the terms,

provisions and conditions thereof.

       22.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 22 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit F, refers to the document for the terms, provisions

and conditions thereof.

       23.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 23 of the Complaint, and with respect to the
document attached to the Complaint as Exhibit F, refers to the document for the terms, provisions

and conditions thereof.

       24.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 24 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit I, refers to the document for the terms, provisions

and conditions thereof.

       25.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 25 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit J, refers to the document for the terms, provisions

and conditions thereof.

       26.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 26 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit K, refers to the document for the terms,

provisions and conditions thereof.

       27.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 27 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit L, refers to the document for the terms, provisions

and conditions thereof.

       28.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 28 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit M, refers to the document for the terms,

provisions and conditions thereof.
       29.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 29 of the Complaint, and with respect to the

documents attached to the Complaint as Exhibits N and O, refers to those documents for the

terms, provisions and conditions thereof.

       30.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 30 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit P, refers to the document for the terms, provisions

and conditions thereof.

       31.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 31 of the Complaint.

       32.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 32 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit Q, refers to the document for the terms,

provisions and conditions thereof.

       33.     The Answering Defendant admits the allegations set forth in paragraph 33 of the

Complaint, and with respect to the document attached to the Complaint as Exhibit R, refers to

the document for the terms, provisions and conditions thereof.

       34.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 34 of the Complaint, and with respect to the

document attached to the Complaint as Exhibit S, refers to the document for the terms, provisions

and conditions thereof.

       35.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 35 of the Complaint.
       36.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 36 of the Complaint.

       37.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 37 of the Complaint.

       38.     In response to paragraph 38 of the Complaint, the Answering Defendant repeats

and realleges as if fully set forth herein paragraphs 1 through 37 of this Answer.

       39.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 39 of the Complaint.

       40.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 40 of the Complaint, and refers all questions

of law to the Court.

       41.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 41 of the Complaint.

       42.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 42 of the Complaint, and refers all questions

of law to the Court.

       43.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 43 of the Complaint, and refers all questions

of law to the Court.

       44.     The Answering Defendant denies knowledge and information sufficient to form

a belief as to the allegations set forth in paragraph 44 of the Complaint and refers all questions

of law to the Court.
   AS AND FOR A CROSS-CLAIM AGAINST INTERPLEADER DEFENDANTS,
 ALYSHA TRIANTAFILLOU, ALYSHA TRIANTAFILLOU AS ADMINISTRATRIX
             OF THE ESTATE OF IOANNIS TRIANTAFILLOU,
               THE ANSWERING DEFENDANT ALLEGES:

        45.     The Answering Defendant repeats and realleges and realleges as if fully set forth

herein paragraphs 1 through 44 of this Answer.

        46.     The Answering Defendant hereby seeks a declaration from this Court that she is

a rightful beneficiary of the life insurance proceeds of the Insured and that this Court direct that

fifty (50%) percent of the proceeds of the death benefit of the Insured’s policy, plus accrued

interest, be paid to her.

        WHEREFORE, the Answering Defendant demands judgment declaring that she is a

rightful beneficiary of the life insurance proceeds of the Insured and that fifty (50%) percent of

the proceeds of the death benefit of the Insured’s policy, plus accrued interest, be paid to her.


Dated: Hawthorne, New York
       November 6, 2023
                                               Yours, etc.,

                                               REISMAN RUBEO, LLP

                                                            /s/
                                               _____________________________________
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